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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       ESTEBAN ALEMAN GONZALEZ, et al.,                  Case No.18-cv-01869-JSC
                                                        Plaintiffs,
                                   8
                                                                                             ORDER RE PLAINTIFFS’ MOTIONS
                                                  v.                                         FOR CLASS CERTIFICATION AND
                                   9
                                                                                             PRELIMINARY INJUNCTION
                                  10       JEFFERSON B. SESSIONS, et al.,
                                                                                             Re: Dkt. Nos. 21, 22
                                                        Defendants.
                                  11

                                  12
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                                  13            In Diouf v. Napolitano, 634 F.3d 1081, 1082 (9th Cir. 2011) (“Diouf II”), the Ninth Circuit

                                  14   held that an individual facing prolonged detention under 8 U.S.C. section 1231(a)(6) “is entitled to

                                  15   release on bond unless the government establishes that he is a flight risk or a danger to the

                                  16   community.” The government has detained plaintiffs Esteban Aleman Gonzalez and Jose Eduardo

                                  17   Gutierrez Sanchez pursuant to 8 U.S.C. § 1231(a)(6) for more than six months without an

                                  18   individualized bond hearing. Accordingly, they filed this suit on behalf of themselves and a

                                  19   putative class seeking declaratory and injunctive relief. Now pending before the Court are

                                  20   Plaintiffs’ motions for class certification and preliminary injunction. (Dkt. Nos. 21 and 22.)1

                                  21   Plaintiffs seek certification of a class of essentially all present and future section 1231(a)(6)

                                  22   detainees in the Ninth Circuit and a preliminary injunction enjoining the government from

                                  23   detaining plaintiffs and the class for more than 180 days without providing them with a bond

                                  24   hearing before an immigration judge at which the government has the burden of justifying

                                  25   detention. The dispositive issue is whether Diouf II is clearly irreconcilable with the United States

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                                  27   1
                                        Record citations are to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                  28   ECF-generated page numbers at the top of the documents.
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                                   1   Supreme Court’s recent decision in Jennings. As the Court concludes that it is not, it certifies the

                                   2   class and enjoins the government from failing to provide a bond hearing to 1231(a)(6) detainees

                                   3   after 180 days in detention.

                                   4                                    IMMIGRATION FRAMEWORK

                                   5             The Immigration and Nationality Act (“INA”) authorizes the detention of noncitizens

                                   6   awaiting removal from the United States. Different sections of the INA govern different phases of

                                   7   detention. It authorizes “the Government to detain certain aliens seeking admission into the

                                   8   country under §§ 1225(b)(1) and (b)(2)” and “aliens already in the country pending the outcome of

                                   9   removal proceedings under §§ 1226(a) and (c).” Jennings v. Rodriguez, 138 S. Ct. 830, 838

                                  10   (2018).

                                  11             If the proceedings result in an order of removal, the Attorney General is required to remove

                                  12   the noncitizen from the United States within a period of 90 days, known as the “removal period.”
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                                  13   See 8 U.S.C. § 1231(a)(1)(A). Detention during the 90 day removal period is mandatory. See id.

                                  14   § 1231(a)(2). If the noncitizen is not removed during the removal period, continued detention is

                                  15   authorized beyond the removal period in the discretion of the Attorney General. Id. § 1231(a)(6).

                                  16   Section 1231(a)(6) encompasses noncitizens “whose collateral challenge to his removal order (a

                                  17   motion to reopen) is pending in the court of appeals, as well as to aliens who have exhausted all

                                  18   direct and collateral review of their removal orders but who, for one reason or another, have not

                                  19   yet been removed from the United States.” Diouf II, 634 F.3d at 1085.

                                  20             “An alien who expresses a fear of returning to the country designated in the reinstated

                                  21   order of removal ... must be immediately referred to an asylum officer for an interview to

                                  22   determine whether the alien has a reasonable fear of persecution or torture.” Andrade v. Sessions,

                                  23   828 F.3d 826, 832 (9th Cir. 2016) (quoting 8 C.F.R. § 241.8(e)). “If the officer decides that the

                                  24   alien does have a reasonable fear of persecution or torture, the case is referred to an immigration

                                  25   judge (“IJ”) for full consideration of the request for withholding of removal only.” Ayala v.

                                  26   Sessions, 855 F.3d 1012, 1015 (9th Cir. 2017); 8 C.F.R. § 208.31(e)). “If, however, the asylum

                                  27   officer decides that the alien has not established a reasonable fear of persecution or torture, then

                                  28   the alien is entitled to appeal that determination to an IJ.” Id. at 1015-1016; 8 C.F.R. § 208.31(g).
                                                                                          2
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                                   1   “On appeal, if the IJ affirms the officer’s negative fear determination, the case is returned to the

                                   2   Service for removal, and the alien is not entitled to appeal further to the BIA.” Id. at 1016. The

                                   3   noncitzen may, however, petition the Ninth Circuit for review of a negative reasonable fear

                                   4   determination. Id.

                                   5                                      FACTUAL BACKGROUND

                                   6   A.       Esteban Aleman Gonzalez

                                   7            Plaintiff Esteban Aleman Gonzalez is a citizen of Mexico who applied for admission to the

                                   8   United States in April 2000. (Dkt. No. 27-1.) During this process Mr. Gonzalez presented an

                                   9   entry document that belonged to another person. (Id.) An immigration officer found that Mr.

                                  10   Gonzalez was inadmissible under 8 U.S.C. § 1182(a)(6)(C)(i) because he sought to procure

                                  11   admission “by fraud or by willfully misrepresenting a material fact.” (Id.) Mr. Gonzalez was

                                  12   removed under an expedited removal order. (Id.) Sometime thereafter, Mr. Gonzalez unlawfully
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                                  13   reentered the United States. (Dkt. No. 27-2.) In August 2017, immigration officers arrested him

                                  14   and determined that he was “removable as an alien who ha[d] illegally reentered the United States

                                  15   after having been previously removed.” (Id.) (citing 8 U.S.C. § 1231(a)(5)). Mr. Gonzalez did not

                                  16   contest the finding that he was removable and his removal order was reinstated on August 18,

                                  17   2017. (Id.)

                                  18            While in custody Mr. Gonzalez expressed a fear that he would persecuted or tortured if he

                                  19   was removed him to Mexico. (Dkt. No. 27-3 ¶ 6). An asylum officer interviewed Mr. Gonzalez,

                                  20   determined that he “has a reasonable fear persecution or torture,” and then referred him to an

                                  21   immigration judge for “withholding-only” proceedings. (Id.) Thereafter, Mr. Gonzalez moved for

                                  22   a bond hearing. (Dkt. No. 27-4). An immigration judge denied the motion for lack of jurisdiction

                                  23   and scheduled a July 9, 2018 hearing on the merits of Mr. Gonzalez’s withholding-of-removal

                                  24   claim. (Dkt. Nos. 27-4, 27-5.) On February 26, 2018, an ICE officer reviewed Mr. Gonzalez’s

                                  25   custody status and determined that he will remain in ICE custody “[p]ending a ruling on [his

                                  26   withholding-of-removal] claim” or until he demonstrates that his “removal is unlikely.” (Dkt. No.

                                  27   27-6.)

                                  28   //
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                                   1   B. Jose Eduardo Gutierrez Sanchez

                                   2          Plaintiff Jose Eduardo Gutierrez Sanchez is a citizen of Mexico who unlawfully entered

                                   3   the United States in May 2009. (Dkt. No. 27-7.) Shortly thereafter, Mr. Sanchez was arrested and

                                   4   charged as inadmissible under 8 U.S.C. § 1182(a)(7)(A)(i)(I). (Id.) An expedited removal order

                                   5   issued and Mr. Sanchez was removed. (Id.) At a later date, Mr. Sanchez unlawfully reentered the

                                   6   United States. (Dkt. No. 27-8.) On September 26, 2017, Mr. Sanchez was arrested and

                                   7   immigration officials determined that he was “removable as an alien who ha[d] illegally reentered

                                   8   the United States after having been previously removed” under 8 U.S.C. § 1231(a)(5). (Id.) Mr.

                                   9   Sanchez did not contest he was removable and his May 2009 removal order was reinstated. (Id.)

                                  10          While in custody, Mr. Sanchez also expressed a fear that he would persecuted or tortured if

                                  11   removed to Mexico. (Dkt. No. 27-9 ¶ 6). An asylum officer interviewed him, determined that he

                                  12   reasonably feared persecution or torture, and referred him to an immigration judge for
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                                  13   “withholding-only” proceedings. (Id.; see 8 C.F.R. §§ 208.31(e), 241.8(e).) In withholding-only

                                  14   proceedings, Mr. Sanchez moved for a bond hearing which was denied for lack of jurisdiction.

                                  15   (Dkt. No. 27-10.)

                                  16          The IJ has scheduled a June 18, 2018 hearing on the merits of Mr. Sanchez’s withholding-

                                  17   of-removal claim. (Dkt. No. 27-11.) On December 19, 2017, an ICE officer reviewed Mr.

                                  18   Sanchez’s custody status. (Dkt. No. 31-1.) The officer relied on Mr. Sanchez’s criminal history,

                                  19   including “arrests for possession of marijuana, obstruct/resist public officer, battery spouse,

                                  20   robbery: second degree,” and Mr. Sanchez’s “multiple illegal entries” to conclude that Mr.

                                  21   Sanchez “would be a danger and a flight risk if released.” (Id.)

                                  22                              THE CLASS CERTIFICATION MOTION

                                  23          Plaintiffs ask the Court to certify as a class “all individuals who are detained pursuant to 8

                                  24   U.S.C. § 1231(a)(6) in the Ninth Circuit by, or pursuant to the authority of, the U.S. Immigration

                                  25   and Customs Enforcement (“ICE”), and who have reached or will reach six months in detention,

                                  26   and have been or will be denied a prolonged detention bond hearing before an Immigration Judge

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                                   1   (‘IJ’).”2

                                   2   I.      Legal Standard

                                   3           “Federal Rule of Civil Procedure 23 governs the maintenance of class actions in federal

                                   4   court.” Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1124 (9th Cir. 2017). To succeed on

                                   5   their motion for class certification, Plaintiffs must satisfy the threshold requirements of Federal

                                   6   Rule of Civil Procedure 23(a) as well as the requirements for certification under one of the

                                   7   subsections of Rule 23(b). Mazza v. Am. Honda Motor Co., 666 F.3d 581, 588 (9th Cir.

                                   8   2012). Rule 23(a) provides that a case is appropriate for certification as a class action if:

                                   9           (1) the class is so numerous that joinder of all members is impracticable;

                                  10           (2) there are questions of law or fact common to the class;

                                  11           (3) the claims or defenses of the representative parties are typical of the claims or

                                  12           defenses of the class; and
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                                  13           (4) the representative parties will fairly and adequately protect the interests of the

                                  14           class.

                                  15   Fed. R. Civ. P. 23(a). “[A] party must not only be prepared to prove that there are in fact

                                  16   sufficiently numerous parties, common questions of law or fact, typicality of claims or defenses,

                                  17   and adequacy of representation, as required by Rule 23(a),” but “also satisfy through evidentiary

                                  18   proof at least one of the provisions of Rule 23(b).” Comcast v. Behrend, 569 U.S. 27, 133 S.Ct.

                                  19   1426, 1432, 185 L.Ed.2d 515 (2013) (internal quotation marks, citations, and emphasis omitted).

                                  20           Plaintiffs contends that the putative class satisfies Rule 23(b)(2), which requires that “final

                                  21   injunctive relief or corresponding declaratory relief is appropriate respecting the class as a whole.”

                                  22   For certification under Rule 23(b)(2), Plaintiffs must show that “declaratory relief is available to

                                  23   the class as a whole” and that the challenged conduct is “such that it can be enjoined or declared

                                  24   unlawful only as to all of the class members or as to none of them.” Wal-Mart Stores, Inc. v.

                                  25   Dukes, 564 U.S. 338, 360 (2011).

                                  26
                                  27   2
                                         Both the Central District of California and the Western District of Washington have certified
                                  28   classes of detainees under section 1231(a)(6). Plaintiffs’ proposed class definition excludes those
                                       individuals that fall within those certified classes. (Dkt. No. 21 at 10 n.3.)
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                                   1            Plaintiffs seek certification of a 23(b)(2) class as to their statutory and due process claims.

                                   2   As they note, however, in Jennings the Supreme Court remanded the case to the Ninth Circuit to

                                   3   address whether Rule 23 authorized class certification of the due process claims. 138 S.Ct. at 832.

                                   4   The Ninth Circuit has recently asked the parties in that case for supplemental briefing on the

                                   5   question. In light of this uncertainty, and given that addressing the due process claim is not

                                   6   necessary to resolution of Plaintiffs’ motions, the Court denies without prejudice Plaintiffs’

                                   7   motion to certify their due process claim. Instead, the Court will analyze the motion solely as to

                                   8   the statutory claim.

                                   9   II.      Analysis

                                  10            A.     Plaintiffs Have Satisfied Rule 23(a)

                                  11            The Court may certify a class only where “(1) the class is so numerous that joinder of all

                                  12   members is impracticable; (2) there are questions of law or fact common to the class; (3) the
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                                  13   claims or defenses of the representative parties are typical of the claims or defenses of the class;

                                  14   and (4) the representative parties will fairly and adequately protect the interests of the class.” Fed.

                                  15   R. Civ. P. 23(A).

                                  16                   i.      Numerosity

                                  17            A putative class satisfies the numerosity requirement “if the class is so numerous that

                                  18   joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). Impracticability is not

                                  19   impossibility, and instead refers only to the “difficulty or inconvenience of joining all members of

                                  20   the class.” Harris v. Palm Springs Alpine Estates, Inc., 329 F.2d 909, 913-14 (9th Cir. 1964)

                                  21   (citation omitted). “While there is no fixed number that satisfies the numerosity requirement, as a

                                  22   general matter, as class greater than forty often satisfies the requirement, while one less than

                                  23   twenty-one does not.” Ries v. Ariz. Beverages USA LLC, 287 F.R.D. 523, 526 (N.D. Cal. Nov. 27,

                                  24   2012).

                                  25            Plaintiffs estimate that the class currently contains at least 43 proposed members, 18 in

                                  26   California and 25 in Arizona, but likely many more. (Dkt. No. 21-1 at 10 ¶¶ 6-9, 18 ¶ 5, 24 ¶¶5-6,

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                                   1   29 ¶ 6, 35 ¶¶ 6,7.)3 These numbers make it impractical to bring all class members before the

                                   2   Court on an individual basis. Further, Plaintiffs estimate this number will grow each day as the

                                   3   government places additional individuals in custody who will later reach six months of detention

                                   4   under § 1231(a)(6). Accordingly, Plaintiffs have established that the class is sufficiently

                                   5   numerous.

                                   6                   ii.     Commonality

                                   7           “[C]ommonality requires that the class members’ claims depend on a common contention

                                   8   such that ‘determination of its truth or falsity will resolve an issue that is central to the validity of

                                   9   each [claim] in one stroke.’” Mazza, 666 F.3d at 588-89 (quoting Dukes, 131 S.Ct. at 2551). “The

                                  10   plaintiff must demonstrate the capacity of classwide proceedings to generate common answers to

                                  11   common questions of law or fact that are apt to drive the resolution of the litigation.” Id. (internal

                                  12   quotation marks and citation omitted). To that end, the commonality requirement can be satisfied
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                                  13   “by even a single question.” Trahan v. U.S. Bank Nat’l Ass’n, No. C 09-03111 JSW, 2015 WL

                                  14   74139, at *5 (N.D. Cal. Jan. 6, 2015). It is not necessary that “[a]ll questions of fact and law ... be

                                  15   common to satisfy the rule.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998). The

                                  16   Ninth Circuit has found “[t]he existence of shared legal issues with divergent factual predicates is

                                  17   sufficient, as is a common core of salient facts coupled with disparate legal remedies within the

                                  18   class.” Id. “[T]he commonality requirements asks us to look only for some shared legal issue or

                                  19   a common core of facts.” Id. Ultimately, commonality “requires the plaintiff to demonstrate the

                                  20   class members have suffered the same injury.” Evon v. Law Offices of Sidney Mickell, 688 F.3d

                                  21   1015, 1029 (9th Cir. 2012) (quoting Dukes, 131 S.Ct. at 2551).

                                  22           Plaintiffs satisfy the commonality requirement because they share a common legal

                                  23   question: whether detention beyond six months without an individualized bond hearing violates §

                                  24   1231(a)(6) as interpreted by the Ninth Circuit in Diouf. “This question will be posed by the

                                  25   detention of every member of the class and their entitlement to a bond hearing will largely be

                                  26
                                  27   3
                                        Plaintiffs represent this number is at least 60, not 43, however after a review of Plaintiffs’
                                  28   declarations the Court counts only 43 individuals that are represented by Plaintiffs’ counsel or are
                                       being detained under section 1231(a)(6) upon Plaintiffs’ counsel’s belief.
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                                   1   determined by its answer.” See Rodriguez v. Hayes, 591 F.3d 1105, 1123 (9th Cir. 2010) (finding

                                   2   commonality after petitioner raised the common question of whether detention of the putative

                                   3   class members “is authorized by statute, and, in the alternative, that if their detention is authorized

                                   4   it violates the Fifth Amendment’s guarantee of due process.”)

                                   5          The Government’s arguments to the contrary are unpersuasive. They assert “Plaintiffs’

                                   6   proposed class lacks commonality because the proffered class definition encompasses a broad

                                   7   range of individuals with different factual bases for their claims, including diverse groups of aliens

                                   8   whose legal and factual interests differ considerably from each other and from those of the

                                   9   proposed class representatives.” (Dkt. No. 28 at 18: 4-7.) The Government is right that “members

                                  10   of the proposed class do not share every fact in common or completely identical legal issues”;

                                  11   however, “[t]his is not required by Rule 23(a)(1).” Rodriguez, 591 F.3d at 1122. Instead, “the

                                  12   commonality requirement asks us to look only for some shared legal issue or a common core of
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                                  13   facts” and the proposed members have met that here: there is a shared legal question of whether

                                  14   continued detention after six months without a bond hearing is permissible under § 1231(a)(6).

                                  15   See id. If the Court ultimately rules in favor of Plaintiffs the relief will be the same - each class

                                  16   member will be entitled to a bond hearing regardless of individual circumstances. This is

                                  17   sufficient to meet the commonality requirement.

                                  18          The Government further argues “under Zadvydas’s construction of § 1231(a)(6), the

                                  19   detention of named Plaintiffs and their putative class does not raise a serious constitutional

                                  20   problem, let alone violate the Due Process Clause, unless they can show that they are not

                                  21   significantly likely to be removed in the reasonably foreseeable future.” See Zadvydas v. Davis,

                                  22   533 U.S. 678, 701 (2001). The Government contends “this is a detail-specific analysis that

                                  23   necessarily requires a factual assessment of, among other things, the likelihood that individuals

                                  24   will prevail on their requests for relief from removal and, for those in withholding-only

                                  25   proceedings, whether there are alternative countries to which they could be removed.” (Dkt. No.

                                  26   28 at 19:23-20:1.) However, this argument goes to the merits of Plaintiffs’ claim, not whether the

                                  27   commonality requirement is met. It is the Government’s contention that Plaintiffs and the absent

                                  28   class members have to show they are not likely to be removed in the reasonably foreseeable
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                                   1   future. Plaintiffs, on the other hand, assert that under section 1231(a)(6) as interpreted by the

                                   2   Ninth Circuit in Diouf II, each Plaintiff and putative class member is entitled to a bond hearing

                                   3   after six months regardless of whether they are likely to be removed in the reasonable foreseeable

                                   4   future. Whether a Plaintiff has or has not been deemed to have a reasonable fear of return,

                                   5   whether there are third-party countries where Plaintiffs can be removed, or whether certain

                                   6   Plaintiffs may be considerably more or less likely to be removed in the reasonably foreseeable

                                   7   future has no bearing on the common statutory question of whether under section 1231(a)(6)

                                   8   Plaintiffs are entitled to a bond hearing.

                                   9          Finally, the Government emphasizes that Plaintiffs’ proposed class includes “not only

                                  10   individuals with reinstated removal orders who are detained pursuant to § 1231(a)(6), but also

                                  11   individuals ‘who have been issued administratively final removal orders pursuant to 8 U.S.C. §

                                  12   1228(b), as well as individuals who are awaiting judicial review of the BIA’s denial of a motion to
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                                  13   reopen removal proceedings, see 8 U.S.C. § 1229a(c)(7), and who have been issued a judicial stay

                                  14   of removal.’” (Dkt. Nos. 28 at 21:9-13; 1 ¶ 30.) It argues that these Plaintiffs, although detained

                                  15   under the same section as immigrants with reinstated removal orders, “are not similarly situated to

                                  16   individuals in withholding-only proceedings” because they present “substantively different legal

                                  17   claims challenging their final removal orders, are potentially seeking different forms of relief in

                                  18   their removal proceedings beyond the narrow relief available in withholding-only proceedings,

                                  19   and therefore may be considerably more or less likely to be removed in the reasonably foreseeable

                                  20   future.” However, whether the immigrant was ordered removed under 8 U.S.C. § 1228(b) after

                                  21   committing an aggravated felony, is seeking review of their motion to reopen removal proceedings

                                  22   under 8 U.S.C. § 1229a(c)(7), or has been issued a judicial stay of removal, all proposed class

                                  23   members are detained under the same statute: § 1231(a)(6). And under this common statute

                                  24   Plaintiffs raise a legal question that applies to all proposed class members regardless of the

                                  25   underlying reason for their removal.

                                  26          Accordingly, commonality is satisfied.

                                  27                  iii.    Typicality

                                  28          Rule 23(a)(3) also requires that “the [legal] claims or defenses of the representative parties
                                                                                         9
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                                   1   [be] typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “Typicality refers to

                                   2   the nature of the claim or defense of the class representative and not on facts surrounding the

                                   3   claim or defense.” Hunt v. Check Recovery Sys., Inc., 241 F.R.D. 505, 510 (N.D. Cal. Mar. 21,

                                   4   2007) (citing Hanon v. Dataprods. Corp., 976 F.2d 497, 508 (9th Cir. 1992)). “The test of

                                   5   typicality is whether other members have the same or similar injury, whether the action is based

                                   6   on conduct which is not unique to the named plaintiffs, and whether other class members have

                                   7   been injured by the same course of conduct.” Evon, 688 F.3d at 1030 (internal quotation marks

                                   8   and citation omitted). The typicality requirement ensures that “the named plaintiff’s claim and the

                                   9   class claims are so interrelated that the interests of the class members will be fairly and adequately

                                  10   protected in their absence.” Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 158 n.13 (1982). Like

                                  11   the commonality requirement, the typicality requirement is “permissive” and requires only that the

                                  12   representative’s claims are “reasonably co-extensive with those of absent class members; they
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                                  13   need not be substantially identical.” Hanlon, 150 F.3d at 1020.

                                  14            Plaintiffs have established typicality. Plaintiffs’ claim for a bond hearing “is reasonably

                                  15   co-extensive with the claims of the class” because the class representatives, as well as the class as

                                  16   a whole, have been detained pursuant to section 1231(a)(6) for six months or longer and have not

                                  17   received a bond hearing. See Rodriguez, 591 F.3d at 1124. Although Plaintiffs and the proposed

                                  18   class were ordered removed under different statutes and are at different points in the removal

                                  19   process and hence do not raise identical claims, they all, as already discussed, are detained under

                                  20   the same statute, raise the same statutory-based argument, and are “alleged victims of the same

                                  21   practice of prolonged detention while in immigration proceedings.” See id.

                                  22            The Government claims that Plaintiffs’ proposed class lacks typicality for the same reasons

                                  23   it lacks commonality: that the factual variations in individual cases and Plaintiffs’ differences in

                                  24   the likeliness of removal preclude typicality. These arguments fail for the reasons described

                                  25   above.

                                  26            Accordingly the typicality requirement is also met.

                                  27                   iv.     Adequacy of Representation

                                  28            Rule 23(a)(4) imposes a requirement related to typicality: that the class representative will
                                                                                          10
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                                   1   “fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). The Court must

                                   2   ask: “(1) do the named plaintiffs and their counsel have any conflicts of interest with other class

                                   3   members and (2) will the named plaintiffs and their counsel prosecute the actions vigorously on

                                   4   behalf of the class?” Evon, 688 F.3d at 1031 (quoting Hanlon, 150 F.3d at 1020); see also Brown

                                   5   v. Ticor Title Ins., 982 F.2d 386, 290 (9th Cir. 1992) (noting that adequacy of representation

                                   6   “depends on the qualifications of counsel for the representatives, an absence of antagonism, a

                                   7   sharing of interests between representatives and absentees, and the unlikelihood that the suit is

                                   8   collusive”) (citations omitted); Fed. R. Civ. P. 23(g)(1)(B) (stating that “class counsel must fairly

                                   9   and adequately represent the interests of the class”).

                                  10          Both the named Plaintiffs and counsel will adequately represent the class. First, Plaintiffs

                                  11   represent that they will “think about the other class members and act on those interests.” (Dkt.

                                  12   No. 21-1 at 52 ¶¶ 19-20, 59 ¶ 12, 60 ¶ 13). Second, Plaintiffs’ counsel is highly experienced in
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                                  13   class action litigation and immigration law. Marc Van Der Hout has four decades of experience

                                  14   litigating immigration class actions. (Dkt. No. 21-1 at 65-69 ¶¶ 3, 8.) His associates, Judah Lakin

                                  15   and Amalia Willie, are also experienced in class action litigation and practice exclusively in the

                                  16   area of immigration. (Id. ¶¶ 10-13.) The four attorneys at Centro Legal de la Raza, Alison

                                  17   Pennington, Lisa Knox, Julia Rabinovich and Jesse Newmark, and the four ACLU attorneys,

                                  18   Michael Kaufman, Bardis Vakili, Julia Mass and Vasudha Talla, have experience litigating

                                  19   complex immigration cases. (Dkt. No. 21-1 at 71-77, 81-86.) Finally, Matt Green has several

                                  20   years of experience in deportation defense, including representing immigrants detained under

                                  21   section 1231(a)(6). (Id. at 32-38.)

                                  22          The Government does not dispute the adequacy of counsel. Instead it argues “the named

                                  23   Plaintiffs cannot represent the interests of potential putative class members who have already been

                                  24   denied or granted withholding-only relief.” However, whether a detainee has been denied or

                                  25   granted withholding-only relief, or like Plaintiffs, have not yet had their request for relief

                                  26   reviewed, has no bearing on the detainee’s right to a bond hearing under section 1231(a)(6) as

                                  27   interpreted by the Ninth Circuit in Diouf II. In other words, the granting or denial of withholding-

                                  28   only relief does not mean that the detainee is entitled to a bond hearing, it only means that the
                                                                                         11
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                                   1   detainee’s removal process as to a particular country will or will not move forward. See Padilla-

                                   2   Ramierz v. Bible, 882 F.3d 826, 836 (9th Cir. 2017) (clarifying that the decision at stake in

                                   3   withholding-only proceedings is not whether the immigrant is to be removed, but the “more

                                   4   limited decision of whether he may be removed” to his country of origin). The detainee can still

                                   5   remain in detention pursuant to § 1231(a)(6) while an alternative country is identified.

                                   6          The Government also asserts “both named Plaintiffs are detained as they have re-entered

                                   7   the United States illegally” and therefore they “cannot represent the interests of putative class

                                   8   members who do not have reinstated removal orders, but are detained pursuant to § 1231(a)(6).”

                                   9   However, the common legal question does not turn on the nature of Plaintiffs’ removal but rather

                                  10   the statute under which Plaintiffs have been detained. Therefore Plaintiffs, who are detained

                                  11   pursuant to § 1231(a)(6), can adequately represent others detained under § 1231(a)(6). The

                                  12   Government’s remaining challenges are only re-assertions of their commonality and typicality
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                                  13   arguments. For the reasons described above, those arguments fail.

                                  14          Accordingly, adequacy is met.

                                  15          B.      Rule 23(b)(2) is Satisfied

                                  16          If all four prerequisites of Rule 23(a) are satisfied, the Court must also find that Plaintiffs

                                  17   “satisfy through evidentiary proof” at least one of the three subsections of Rule 23(b). Comcast

                                  18   Corp. v. Behrend, 133 S.Ct. 1426, 1432 (2013). Rule 23(b) sets forth three general types of class

                                  19   actions. See Fed. R. Civ. P. 23(b)(1)-(b)(3). Of these types, Plaintiffs seek certification under

                                  20   Rule 23(b)(2). The Court can certify a Rule 23(b)(2) class if “the party opposing the class has

                                  21   acted or refused to act on grounds that apply generally to the class, so that final injunctive relief or

                                  22   corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.

                                  23   23(b)(2). “Rule 23(b)(2) applies only when a single injunction or declaratory judgment would

                                  24   provide relief to each member of the class.” Dukes, 564 U.S. at 360. “[U]nlike Rule 23(b)(3), a

                                  25   plaintiff does not need to show predominance of common issues or superiority of class

                                  26   adjudication to certify a Rule 23(b)(2) class.” In re Yahoo Mail Lit., 308 F.R.D. 577, 587 (N.D.

                                  27   Cal. May 26, 2015). Rather, “[i]n contrast to Rule 23(b)(3) classes, the focus [in a Rule 23(b)(2)

                                  28   class] is not on the claims of the individual class members, but rather whether [Defendant] has
                                                                                          12
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                                   1   engaged in a ‘common policy.’” Id. at 599.

                                   2          The Rule 23(b)(2) requirements are also met. It is the Government’s uniform policy that

                                   3   bond hearings are not required under § 1231(a)(6) for those detained for greater than six months.

                                   4   Further the Government “refuses to act on grounds that apply generally to the class” – class

                                   5   members are denied the opportunity to request release on bond by an immigration judge.

                                   6   Plaintiffs seek declaratory and injunctive relief that would benefit all proposed class members:

                                   7   individualized bond hearings after six months of detention.

                                   8          The Government argues Plaintiffs cannot satisfy Rule 23(b)(2) because 8 U.S.C. §

                                   9   1252(f)(1) deprives this Court of jurisdiction to grant relief on Plaintiffs’ statutory claims on a

                                  10   classwide basis. Section 1252(f)(1) provides that “no court (other than the Supreme Court) shall

                                  11   have jurisdiction or authority to enjoin or restrain the operation of [8 U.S.C. §§ 1221–1232] other

                                  12   than with respect to the application of such provisions to an individual alien against whom
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                                  13   proceedings under such part have been initiated.” 8 U.S.C. § 1252(f)(1). Respondents in

                                  14   Rodriguez made the same argument to which the Ninth Circuit retorted “Respondents are doubly

                                  15   mistaken.” Rodriguez, 591 F.3d at 1119. 8 U.S.C. § 1252(f)(1) does not bar either declaratory or

                                  16   injunctive class-wide relief. Id. at 1120. “Section 1252(f) prohibits only injunction of the

                                  17   operation of the detention statutes, not injunction of a violation of the statutes.” Id. (internal

                                  18   quotations omitted). And the text of the Act clearly shows “that Section 1252(f) was not meant to

                                  19   bar classwide declaratory relief.” Id. at 1119.

                                  20          As the Rule 23(a) and (b)(2) requirements are met, Plaintiffs’ motion for class certification

                                  21   is GRANTED as to their statutory claims. See Parsons v. Ryan, 754 F.3d 657, 686 (9th Cir. 2014)

                                  22   (“the primary role of [Rule 23(b)(2)] has always been the certification of civil rights class

                                  23   actions”).

                                  24                                     PRELIMINARY INJUNCTION

                                  25          Plaintiffs request this Court issue a class wide preliminary injunction “enjoining the

                                  26   government from detaining class members for more than 180 days without affording them a bond

                                  27   hearing” before an IJ. (Dkt. No. 22 at 8:8-11.)

                                  28          A preliminary injunction is an “extraordinary remedy.” Winter v. Nat. Res. Defense
                                                                                          13
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                                   1   Council, 555 U.S. 7, 24 (2008). “A plaintiff seeking a preliminary injunction must establish that

                                   2   he is likely to succeed on the merits, that he is likely to suffer irreparable harm in the absence of

                                   3   preliminary relief, that the balance of equities tips in his favor, and that an injunction is in the

                                   4   public interest.” Id. at 20. Alternatively, “if a plaintiff can only show that there are serious

                                   5   questions going to the merits—a lesser showing than likelihood of success on the merits—then a

                                   6   preliminary injunction may still issue if the balance of hardships tips sharply in the plaintiff's

                                   7   favor, and the other two Winter factors are satisfied.” Shell Offshore, Inc. v. Greenpeace, Inc.,

                                   8   709 F.3d 1281, 1291 (9th Cir. 2013) (internal citation and quotation marks omitted). In this

                                   9   respect, the Ninth Circuit employs a sliding scale approach, wherein “the elements of the

                                  10   preliminary injunction test are balanced so that a stronger showing of one element may offset a

                                  11   weaker showing of another.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th

                                  12   Cir. 2011). A “serious question” is one on which the movant “has a fair chance of success on the
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                                  13   merits.” Sierra On–Line, Inc. v. Phoenix Software, Inc., 739 F.2d 1415, 1421 (9th Cir. 1984)

                                  14   (internal citation omitted).

                                  15             A.     Likelihood of Success on the Merits

                                  16             Plaintiffs’ likelihood of success on their now-certified statutory claim turns on whether

                                  17   Diouf II is still good law in the Ninth Circuit. In Diouf II, the Ninth Circuit held that immigrants

                                  18   detained pursuant to section 1231(a)(6) for more than six months are entitled to a bond hearing

                                  19   before an immigration judge. 634 F.3d at 1086, 1091. Thus, under Diouf II, Plaintiffs and the

                                  20   class members are entitled to an individual bond hearing before an immigration judge and the

                                  21   likelihood of success prong is satisfied. The Government nonetheless insists that Diouf II was

                                  22   overruled by the United States Supreme Court’s decision in Jennings v. Rodriguez, 138 S.Ct. 830

                                  23   (2018.)

                                  24             This Court is required to follow Diouf II unless the theory or underlying reasoning of

                                  25   Jennings is “clearly irreconcilable” with Diouf II. Miller v. Gammie, 335 F.3d 889, 900 (9th Cir.

                                  26   2003).

                                  27                    The “clearly irreconcilable” requirement is “a high standard.” So
                                                        long as the court “can apply our prior circuit precedent without
                                  28                    running afoul of the intervening authority” it must do so. “It is not
                                                                                          14
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                                                      enough for there to be some tension between the intervening higher
                                   1                  authority and prior circuit precedent, or for the intervening higher
                                                      authority to cast doubt on the prior circuit precedent.”
                                   2
                                       United States v. Robertson, 875 F.3d 1281, 1291 (9th Cir. 2017) (internal quotation marks and
                                   3
                                       citations omitted). To decide whether Jennings is clearly irreconcilable with Diouf II, several
                                   4
                                       cases must be reviewed.
                                   5
                                              In Zadvydas v. Davis, 533 U.S. 678 (2001), the Supreme Court applied the doctrine of
                                   6
                                       constitutional avoidance4 to construe section 1231(a)(6) “to mean that an alien who has been
                                   7
                                       ordered removed may not be detained beyond ‘a period reasonably necessary to secure removal,’”
                                   8
                                       and that “six months is a presumptively reasonable period.” Jennings, 138 S.Ct. at 843. After
                                   9
                                       being detained for six months, and if the noncitizen provides reason to believe he will not be
                                  10
                                       removed in the reasonably foreseeable future, “the Government must either rebut that showing or
                                  11
                                       release the alien.” Zadvydas, 533 U.S. at 701.
                                  12
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                                              Seven years later, in Casas-Castrillon v. Department of Homeland Security, 535 F.3d 942
 United States District Court




                                  13
                                       (9th Cir. 2008), the Ninth Circuit reviewed 8 U.S.C. section 1226(a). The court held that to
                                  14
                                       construe the statute to allow prolonged detention without adequate procedural protections, that is,
                                  15
                                       bond hearings before an immigration judge, “would raise serious constitutional concerns.” Id. at
                                  16
                                       950. Applying the canon of constitutional avoidance, the court therefore held that section 1226(a)
                                  17
                                       “must be construed as requiring the Attorney General to provide the alien without such a hearing.”
                                  18
                                       Id. (emphasis in original). In Diouf II, the Ninth Circuit extended the holding of Casas-Castrillon
                                  19
                                       to aliens detained under § 1231(a)(6).
                                  20
                                                      As was the case in Casas–Castrillon, prolonged detention under §
                                  21                  1231(a)(6), without adequate procedural protections, would raise
                                                      “serious constitutional concerns.” Casas–Castrillon, 535 F.3d at
                                  22                  950. To address those concerns, we apply the canon of constitutional
                                                      avoidance and construe § 1231(a)(6) as requiring an individualized
                                  23                  bond hearing, before an immigration judge, for aliens facing
                                                      prolonged detention under that provision. See id. at 951. Such aliens
                                  24                  are entitled to release on bond unless the government establishes
                                                      that the alien is a flight risk or will be a danger to the community.
                                  25

                                  26
                                       4
                                  27    “The canon of constitutional avoidance is a ‘cardinal principle’ of statutory interpretation.
                                       [W]hen an Act of Congress raises a serious doubt as to its constitutionality, this Court will first
                                  28   ascertain whether a construction of the statute is fairly possible by which the question may be
                                       avoided.” Diouf II, 634 F.3d 1086 n.7 (internal quotation marks and citations omitted).
                                                                                         15
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                                   1   See id. at 1086. Under Diouf II, then, the Government is required to provide Plaintiffs and the

                                   2   class members a bond hearing before an immigration judge.

                                   3          The Supreme Court decided Jennings v. Rodriguez in February of this year. Jennings

                                   4   reviewed the Ninth Circuit’s decision in Rodriguez v. Robbins, 804 F.3d 1060 (9th Cir. 2015).

                                   5   According to the Supreme Court, in Rodriguez v. Robbins the Ninth Circuit:

                                   6                  relying heavily on the canon of constitutional avoidance, . . .
                                                      construed §§ 1225(b) and 1226(c) as imposing an implicit 6–month
                                   7                  time limit on an alien's detention under these sections. After that
                                                      point, the Court of Appeals held, the Government may continue to
                                   8                  detain the alien only under the authority of § 1226(a). The Court of
                                                      Appeals then construed § 1226(a) to mean that an alien must be
                                   9                  given a bond hearing every six months and that detention beyond the
                                                      initial 6–month period is permitted only if the Government proves
                                  10                  by clear and convincing evidence that further detention is justified.
                                  11   Jennings, 138 S. Ct. at 839. The Supreme Court then went on to reverse the Ninth Circuit. First,

                                  12   the Court held that the canon of constitutional avoidance—while a valid doctrine—could not be
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                                  13   applied to sections 1225(b) and 1226(c) because those statutes required mandatory detention for a

                                  14   certain period rather than the discretionary detention called for by section 1231(a)(6). Id. at 842-

                                  15   44, 46-47. Section 1226(a), however, contains the discretionary language “may detain” which the

                                  16   Court held could render the statute ambiguous and thus permit the application of the canon of

                                  17   constitutional avoidance. With respect to section 1226(a), the Supreme Court stated:

                                  18                  The Court of Appeals ordered the Government to provide procedural
                                                      protections that go well beyond the initial bond hearing established
                                  19                  by existing regulations—namely, periodic bond hearings every six
                                                      months in which the Attorney General must prove by clear and
                                  20                  convincing evidence that the alien’s continued detention is
                                                      necessary. Nothing in § 1226(a)’s text—which says only that the
                                  21                  Attorney General “may release” the alien “on ... bond”—even
                                                      remotely supports the imposition of either of those requirements.
                                  22                  Nor does § 1226(a)’s text even hint that the length of detention prior
                                                      to a bond hearing must specifically be considered in determining
                                  23                  whether the alien should be released.
                                  24   Jennings, 138 S. Ct. 830, 847–48.

                                  25          The Government argues that because in Jennings the Supreme Court held that “‘[N]either

                                  26   § 1225(b)(1) nor § 1225(b)(2) says anything whatsoever about bond hearings;’ § 1226(c) ‘imposes

                                  27   an affirmative prohibition on releasing detained aliens,’ except under an express exception; and

                                  28   ‘[n]othing in § 1226(a)’s text . . . even remotely supports the imposition’ of a bond hearing
                                                                                         16
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                                   1   requirement” Diouf II is clearly irreconcilable with Jennings. (Dkt. No. 27 at 9.) Not so.

                                   2           First, the Supreme Court held that the canon of constitutional avoidance—which the Ninth

                                   3   Circuit used to interpret section 1225(b)(1) and (2)—could not be applied to those statutes to

                                   4   imply the procedural requirement of a bond hearing because the statutes “mandate detention until

                                   5   a certain point and authorize release prior to that point only under limited circumstances.” Id. at

                                   6   844. In doing so, the Court specifically distinguished its earlier decision in Zadvydas which

                                   7   applied the canon of constitutional avoidance to section 1231(a)(6)—the statute at issue here—to

                                   8   find certain procedural requirements. Id. (“While Zadvydas found § 1231(a)(6) to be ambiguous,

                                   9   the same cannot be said of §§ 1225(b)(1) and (b)(2)”); see also Hurtado-Romero v. Sessions, 2018

                                  10   WL 2234500 (N.D. Cal. May 16, 2018) (noting that the factors negating ambiguity, and thus the

                                  11   appropriateness of the application of the canon of constitutional avoidance, are not present in

                                  12   section 1231(a)(6)). Thus, far from being clearly irreconcilable with Diouf II’s application of the
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                                  13   canon of constitutional avoidance to section 1231(a)(6), Jennings reaffirms the canon’s application

                                  14   to that statute.

                                  15           Second, Jennings does not overrule Diouf II’s holding that pursuant to the application of

                                  16   the canon of constitutional avoidance section 1231(a)(6) must be construed as requiring an

                                  17   individual bond hearing for prolonged detention. The Government argues that since Jennings held

                                  18   that section 1226(a) cannot be construed to require periodic bond hearings every six months at

                                  19   which the government bears the burden of proof by clear and convincing evidence because

                                  20   nothing in the text of the statute hints at those requirements, 138 S.Ct. 847-48, section 1231(a)(6)

                                  21   cannot be interpreted as requiring a bond hearing for prolonged detention. But Jennings said

                                  22   nothing about section 1231(a)(6) not being capable of being plausibly construed as requiring a

                                  23   bond hearing for prolonged detention. To the contrary, Jennings specifically did not overrule

                                  24   Zadvydas and in Zadvydas the Supreme Court used the canon of constitutional avoidance to

                                  25   construe section 1231(a)(6) to include procedural requirements not specifically set forth in the

                                  26   statute. Thus, the Government’s interpretation of Jennings is in tension with Zadvydas. See

                                  27   Hurtado-Romero, 2018 WL 2234500 at *2. This Court can find Jennings clearly irreconcilable

                                  28   with Diouf II only by ignoring Zadvydas. However, even if “recent Supreme Court jurisprudence
                                                                                        17
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                                   1   has perhaps called into question the continuing viability of [its precedent], [the lower courts] are

                                   2   bound to follow a controlling Supreme Court precedent until it is explicitly overruled by that

                                   3   Court.” Nunez-Reyes v. Holder, 646 F.3d 684, 692 (9th Cir. 2011).

                                   4          Jennings is in tension with Diouf II and perhaps even calls it and Zadvydas into doubt. But

                                   5   such circumstances do not permit this federal trial court to not follow Diouf II. See Robertson,

                                   6   875 F.3d at 1291. As Diouf II is not clearly irreconcilable with Jennings it remains good law in

                                   7   this Circuit. Plaintiffs have therefore shown a likelihood of success on the merits of their INA and

                                   8   APA statutory claims that under section 1231(a)(6) the Government must provide Plaintiffs and

                                   9   the class members an individualized bond hearing.

                                  10          B.      Remaining Injunction Factors

                                  11          The Government does not address the remaining preliminary injunction factors. Instead, it

                                  12   simply asserts that if the Court considers them, “the key point is that the public interest favors
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                                  13   applying federal law correctly.” As Jennings is not clearly irreconcilable with Diouf II, the public

                                  14   interest weighs in favor of the Government providing Plaintiffs and the class member bond

                                  15   hearings as required by Diouf II.

                                  16          The remaining factors, irreparable harm and balance of equities, also weigh in favor of an

                                  17   injunction. Plaintiffs face compounding harm with each additional day they remain in custody

                                  18   without a bond hearing, as required by existing Ninth Circuit authority. See Villalta v. Sessions,

                                  19   No. 17-CV-05390-LHK, 2017 WL 4355182, at *3 (N.D. Cal. Oc. 2, 2017). Further, the harm to

                                  20   Plaintiffs in remaining in detention without a bond hearing clearly outweighs any “harm” to the

                                  21   Government in providing bond hearings.

                                  22          In sum, the four preliminary injunction factors weigh in Plaintiffs’ favor.

                                  23                                             CONCLUSION

                                  24          For the reasons described above, Plaintiffs’ motion for class certification of section

                                  25   1231(a)(6) detainees in the Ninth Circuit is GRANTED as to their statutory claims. Van Der

                                  26   Hout, Brigagliano & Nightingale, LLP, Centro Legal De La Raza, Matthew Green, ACLU-SC,

                                  27   ACLU-NC, and ACLU-SD are appointed as class counsel.

                                  28          Plaintiffs’ motion for a preliminary injunction under the INA and APA is also GRANTED.
                                                                                         18
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                                   1   The Government is enjoined from detaining Plaintiffs and the class members pursuant to section

                                   2   1231(a)(6) for more than 180 days without a providing each a bond hearing before an IJ as

                                   3   required by Diouff II.

                                   4          This Order disposes of Docket Nos. 21 and 22.

                                   5

                                   6          IT IS SO ORDERED.

                                   7   Dated: June 5, 2018

                                   8

                                   9
                                                                                                 JACQUELINE SCOTT CORLEY
                                  10                                                             United States Magistrate Judge
                                  11

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